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   Statement of the Alabama Psychological Association (aPA) Supporting Gender-Affirming Care for
                Transgender Youth and Urging Opposition to Alabama SB184/HB266

Alabama SB184/HB266, known as the Alabama Vulnerable Child Compassion and Protection Act, is
without scientific merit and is harmful to transgender individuals, impacting their ability to seek and
receive gender-affirming care.
    The proposed legislation would prevent transgender youth and their families from:
         • Accessing standard medical care which has been available and practiced for over 25 years
             throughout our country, is backed by science, and is endorsed by the American Academy of
             Pediatrics, the American Psychological Association, the Endocrine Society, and the
             American Medical Association
         • Making joint decisions with medical providers relative to their individual needs.
     The proposed legislation would:
         • Criminalize medical providers, by making it a Class C Felony, with a prison sentence up to
             10 years and fines up to $15,000 to provide standard medical care to transgender youth
             and families
         • Force nurses, counselors, teachers, principals, or other administrative officials at public
             or private schools to break trusted confidential relationships with children and gender
             diverse adolescents by sharing this sensitive information with parents.

Gender-affirming care saves lives, and access to this care results in better mental health and
psychosocial outcomes. Scientific evidence has shown unequivocally that gender affirming care has the
potential to reduce mental health difficulties, suicide rates, as well as other negative psychosocial and
health outcomes (1). Gender-affirming care is provided by the medical team in alignment with ethical
guidelines and standards of care (e.g., World Professional Association for Transgender Health). Gender-
affirming care is individualized and assists patient and families in defining, exploring, and actualizing
their gender identity. Patients and families lead the way, and the medical team shifts to adapt with
the family if there is a change in gender identity. The care can include psychoeducation about gender
and sexuality (appropriate for the individual’s age and developmental level), parental and family
support, psychosocial interventions and gender affirming medical interventions. Surgery is not part of
gender affirming care for minors in Alabama. Use of hormones for pubertal suppression is completely
reversable and simply pauses puberty to provide the individual with time for their gender identity to
develop further. Gender affirming hormone therapy, which involves the use of masculinizing or
feminizing hormones to allow the body to develop physical changes that align with a person’s gender
identity, is discussed thoroughly with the patient and family, and requires both patient and parent
consent prior to treatment.

Asking licensed professionals to disregard their medical knowledge and scientific evidence and thereby
violate their professional ethics (e.g., the Hippocratic Oath) would codify in law a new low point in
healthcare in Alabama. In addition, while the proposed legislation appears protective in aim and name
(Alabama Vulnerable Child Compassion and Protection Act), it actually harms gender diverse youth by
criminalizing all appropriate care and undermining flexibility that is critical for each individual patient to
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receive the best possible care for their individual circumstances Proper treatment saves lives, by
reducing anxiety, depression, and suicide in transgender youth, and with the unified support of their
caregivers, families, providers and community, transgender youth can not only survive but thrive.

The proposed legislation would place undue burden on an already taxed mental health care system in
Alabama. Increased rates of behavioral concerns, anxiety, depression, and suicide rates were a major
concern for adolescents and young adults prior to the pandemic. Suicide is now the second leading
cause of death in adolescents ages 15-19 (2). With the onset of the pandemic, rates of mental health
disorders increased, symptoms of depression and anxiety doubled (3), and emergency room visits in the
U.S. for suspected suicide doubled for adolescent girls compared to the same period in early 2019 (4).
Moreover, Alabama currently ranks 46th in the U.S. regarding access to mental health care for those in
need and 51st (last) in mental health workforce availability, with only one mental health provider for
every 1,100 people in need (5). Our transgender youth are more vulnerable than their peers to
depression, anxiety, shame, isolation, and various forms of self-harm including substance use and
suicidal behaviors. Removing access to affirming medical care by taking away treatments transgender
youth and families are already receiving puts them for at risk for increased mental health concerns
and is a civil rights violation. This legislation could also impact federal funding from the Health and
Human Services (HHS), reducing access to needed medical and mental health care for everyone who
lives and may seek care in the state of Alabama (6).

The Alabama Psychological Association stands in solidarity with transgender youth and their families
in Alabama and across the United States. We support and stand with our LGBTQ+ colleagues,
consumers, families, neighbors, and friends. We will continue to fight for your rights, utilizing our clinical
and scientific knowledge to advocate for the right to appropriate healthcare for all persons in Alabama
and beyond, without political interference, utilizing policies that advance and protect the rights of
everyone, including the LGBTQ+ community.

We strongly oppose Alabama HB266/SB184 and urge all our legislators and Governor Ivey to
demonstrate their true compassion for and desire to protect vulnerable youth in our state by
opposing this bill as well.

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